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                   IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 STEVEN                ARONSON,           MATTHEW
 ARONSON,

                       Plaintiffs,
          v.
                                                              Case No. 21-CV-01867
 JJMT CAPITAL LLC, a Delaware limited
 liability company, JACOB WUNDERLIN,                          Hon. Franklin U. Valderrama
 MATTHEW SCHWEINZGER, JOSEPH
 DEALTERIS, TYLER CROOKSTON,

                       Defendants.


                                     RESPONSE TO MOTION TO DISMISS

          Plaintiffs, Steven Aronson and Matthew Aronson (collectively the “Aronsons”), by and

through their attorneys Howard & Howard Attorneys PLLC, respond to the Motion to Dismiss

(Dkt. No. 29) filed by Defendants JJMT Capital, LLC, Matthew Schweinzger, Joseph deAlteris

and Jacob Wunderlin (“Defendants”).

                                            INTRODUCTION

         Matthew Schweinzger, Joseph deAlteris, Jacob Wunderlin, and Tyler Crookston

(collectively the “Individual Defendants”) are owners and managing partners of JJMT Capital,

LLC (“JJMT”), an entity that the Aronsons allege the Individual Defendants designed for one

purpose—to funnel money from outside investors to an individual named Zachary Horwitz

(“Horwitz”) and his entities, 1inMM Capital, LLC and 1inMM Productions (collectively the

“1inMM Entities”). As alleged in the Complaint, JJMT and the Individual Defendants made money

by arbitraging these funds for profit and ensuring a return on Defendants’ investments. For the

Individual Defendants, it was the perfect setup; except for one issue: Horwitz and the 1inMM




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Entities were running a massive Ponzi scheme 1, and Defendants either knew about that scheme or

acted so recklessly that they failed to discover it. In the process of obtaining funds from the

Aronsons, the Defendants made their own false representations and now assert a variety of theories

as to why the Plaintiffs have failed to state a cause of action. These theories are without merit.

                                               I. STANDARD

         To survive Defendants’ Motion to Dismiss, the Aronsons’ complaint must only contain

sufficient “factual allegations, accepted as true, sufficient ‘to state a claim to relief that is plausible

on its face.’” Mack v. Chi. Transit Auth., No. 17-CV-06908, 2020 WL 6545039, at *1 (N.D. Ill.

Nov. 6, 2020) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)); see also United States ex rel.

Berkowitz v. Automation Aids, Inc., 896 F.3d 834, 839 (7th Cir. 2018). A plaintiff need only to

plead facts that “nudge [a] claim across the line from conceivable to plausible.’” DiMaio v.

Wexford Health Sources, Inc., No. 19-CV-06613, 2021 WL 1056848, at *4 (N.D. Ill. Mar. 19,

2021) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

         Eight of the Aronsons’ claims allege fraud or sound in fraud (Counts I, II, III, Ⅳ, V, VI,

Ⅸ, and Ⅹ) and therefore those claims are subject to Rule 9(b)’s pleading requirements. However,

even under the Rule 9(b) pleading regime, what must be plead by a plaintiff depends on the facts

of a given case. Emery v. Am. Gen. Fin., Inc., 134 F.3d 1321, 1324 (7th Cir.1998). Generally,

plaintiffs like the Aronsons must allege “the who, what, when, where, and how” of the fraud.

Borsellino v. Goldman Sachs Grp., Inc., 477 F.3d 502, 507 (7th Cir. 2007). Importantly,

“plausibility remains the pleading benchmark, even when a claim is subject to Rule 9(b)’s

particularity requirement.” Hobbs v. Gerber Prods. Co., No. 17 CV 3534, 2018 WL 3861571, at



1
 Horwitz and the United States reached a plea agreement that was filed on September 1, 2021, whereby Horwitz
admitted that he ran a $650 million Ponzi Scheme. Case No. 2:21-cr-00214-MCS, United States District Court, Central
District of California. Dkt. No. 45. A copy of that plea agreement is attached hereto as “Exhibit 1”.


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*8 (N.D. Ill. Aug. 14, 2018) (noting that “the Seventh Circuit has ‘warned that courts and litigants

often erroneously take an overly rigid view of the formulation.’”). Finally, Rule 9(b)’s specificity

requirements should be relaxed when the details are within the defendants’ exclusive knowledge.

Jepson, Inc. v. Makita Corp., 34 F.3d 1321, 1328 (7th Cir. 1994).

                                             II. FACTS

         When ruling on a Motion to Dismiss, this Court should accept all well-pleaded facts as true

and draw all reasonable inferences in favor of the Plaintiffs. Kubiak v. City of Chi., 810 F.3d 476,

480–81 (7th Cir. 2016). Therefore, the following facts must be taken as true. At all relevant times,

Defendant Matthew Schweinzger (“Schweinzger”) was Chief Acquisition Officer of Acrisure,

LLC (“Acrisure”). (Plaintiffs’ First Amended Complaint (“FAC”), ¶ 11). Prior to working at

Acrisure, Schweinzger was an experienced investment banker at Morgan Stanley. (FAC, ¶¶ 13,

14). Schweinzger exercised supervisory control over Steven Aronson when he sent him an e-mail

using his Acrisure e-mail account about an “investment opportunity.” (FAC, ¶¶ 15, 26, Ex. 2). The

investment opportunity that Schweinzger referred to was to be an investment with JJMT, a

company he formed along with Jospeh deAlteris (“deAlteris”), Jacob Wunderlin (“Wunderlin”),

and Tyler Crookston in 2015. (FAC, ¶¶ 4, 21). JJMT was formed for the purpose of loaning

solicited investment funds to Horwitz, a college friend of theirs, and the entities he controlled, the

1inMM Entities. (FAC, ¶¶ 17, 21).

         JJMT solicited these funds under the guise that the funds were to be used to finance the

creation of media, such as films, that would then be licensed to media platforms, such as Netflix

and HBO. (FAC, ¶ 17). In reality, Horwitz was running a Ponzi scheme, using the funds to support

a lavish lifestyle. (FAC, ¶ 18). Prior to soliciting the Aronsons’ investments, Schweinzger,

deAlteris, and Wunderlin did not attempt to independently verify any of the representations made




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by Horwitz or confirm the authenticity of any documents he provided to them and JJMT. (FAC,

¶¶ 19, 20). At the time JJMT became the primary vehicle the Individual Defendants employed to

acquire more capital from the Aronsons to invest into the 1inMM Entities, the Individual

Defendants had already provided over $4,186,000 in loans to the 1inMM Entities. (FAC, ¶ 24).

         On October 9, 2016, Schweinzger sent Steven Aronson a second E-mail (the “October 9

E-mail”) explaining the “investment opportunity” with JJMT. (FAC, ¶ 28, Exhibit 3). In the

October 9 E-mail, Schweinzger repeatedly stated that JJMT was the entity negotiating both the

purchase of media rights and their subsequent sale to entities like HBO and Netflix. (FAC, ¶¶ 31–

35). Importantly, Schweinzger stated that the difference between the purchase price and sale price

of those media rights is “what we use to pay the investors in JJMT.” (FAC, ¶ 31, Ex. 3).

Schweinzger stated that capital calls from its investors does not occur until “we have a deal

completely negotiated, signed up and ready.” (FAC, ¶ 35, Ex. 3) (emphasis supplied). Schweinzger

further stated that investments with JJMT were “a very low risk debt...vehicle” and an “excellent

outlet for excess cash that’s otherwise in a checking account or low interest bearing money market

fund.” (FAC, ¶¶ 30, 34, Ex. 3). These factual representations were false. (FAC, ¶ 30–35, Ex. 3).

         Attached to the October 9 E-mail was an “Investor Opportunity Overview” (the

“Overview”). (FAC, ¶ 36, Ex. 4). Prior to transmitting the October 9 E-mail and Overview, JJMT

and the Individual Defendants failed to independently verify any statements made by Horwitz and

the 1inMM Entities regarding the alleged transactions between the 1nMM Entities and media

companies, such as Netflix and HBO. (FAC, ¶ 48, 49). Rather, they apparently simply relied on

Horwitz’s alleged statements and documents provided by Horwitz. (FAC, ¶ 19). Defendants now

admit that there “were no relationships with HBO or Netflix.” (Defendants’ Joint Motion to

Dismiss, p. 1). The Overview falsely stated that JJMT had itself financed multiple films and




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provided details on these previous media purchases. (FAC, ¶ 39).

         By March 11, 2021, the Aronsons had collectively invested $1,837,000.00 into JJMT via

the purchase of promissory notes that have today not been satisfied. (FAC, ¶¶ 56-57, 60). The

Aronsons believed what JJMT and the Individual Defendants misrepresented to them in the

October 9 E-Mail, the Overview and the promissory notes themselves that the money they loaned

to JJMT was being used to finance and acquire media projects (FAC, ¶ 58). Promissory notes

issued by JJMT identified the purpose of the funds being given by the Aronsons—for example,

JJMT stated the proceeds of the “Storm-Steven Aronson Note” would be used for “financing the

acquisition of distribution rights” of “Run the Race” and “Storm Boy.” (FAC, Ex. 17).

         Schweinzger continued to repeat the false assertions made in the October 9 E-mail and

Overview to the Aronsons throughout 2016 to 2020 via e-mails, phone calls, and in-person

meetings. (FAC, ¶ 61). He repeatedly falsely asserted that JJMT was landing deals with HBO and

Netflix. (FAC, ¶ 61). On December 14, 2017, Schweinzger falsely stated in an e-mail that, “we’ve

landed another HBO deal.” (FAC, ¶ 61). On June 13, 2018, he falsely asserted that “[w]e just

landed another Netflix package” (FAC, ¶ 61). Based on the false representations contained in the

October 9 E-mail, Overview, and subsequent communications, the Aronsons believed that JJMT

itself was involved with the negotiation and sale of content to media platforms, when in fact they

were not. (FAC, ¶¶ 61-62).

         Furthermore, Defendants repeatedly assured the Aronsons that they were conducting due

diligence on the transactions. (FAC, ¶ 63). Defendants made false representations to the Aronsons

to assuage any concerns regarding repayment of securities JJMT had sold them. (FAC, ¶ 63). For

example, on November 16, 2020, Schweinzger stated: “1inMM successfully remedied all open

items with Netflix relating to their audit requests, on October 29th, Netflix informed 1inMM that




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the audit had formally concluded.” (FAC, ¶ 63). Defendants made similar false statements to the

Aronsons in an effort to induce the Aronsons to refrain from filing litigation against them. (FAC,

¶ 63).

                                           I.      ARGUMENT

    A. DeAlteris, Wunderlin, and Schweinzger May Be Held Individually Liable for the
       False Statements in the Overview.

    Even though deAlteris and Wunderlin never spoke directly with the Aronsons on an individual

basis, they can be held liable for violations of the Illinois Securities Law (“ISL”), the Illinois

Consumer Fraud Act (“ICFA”) and conspiracy to defraud due to their involvement in JJMT.

    The Aronsons can satisfy Rule 9(b)’s specificity requirements “through reliance upon a

presumption that the allegedly false and misleading ‘group published information’ complained of

is the collective action of officers and directors.’” Petri v. Gatlin, 997 F. Supp. 956, 974 (N.D. Ill.

1997) (quoting In re GlenFed, Inc. Sec. Litig., 60 F.3d 591, 593 (9th Cir. 1995)); Morse v. Abbott

Labs., 756 F. Supp. 1108, 1111 (N.D. Ill. 1991) (“[W]here the false or misleading information is

conveyed in . . . ‘group-published information,’ it is reasonable to assume that these are the

collective actions of the officers.”). In Makor Issues & Rights, Ltd. v. Tellabs, Inc., the Seventh

Circuit Court of Appeals noted that there is a “group pleading presumption” which is “premised

on the assumption that in cases of corporate fraud where the false or misleading information is

conveyed in prospectuses, registration statements, annual reports, press releases, or other `group-

published information,' it is reasonable to presume that these are the collective actions of the

officers.” Makor Issues & Rights, Ltd. v. Tellabs, Inc., 437 F.3d 588, 594 (7th Cir.2006).

         Here, the Overview, October 9 E-mail and subsequent statements, such as investor updates

in 2016 through 2020, can be reasonably interpreted as “group published information” and the

group pleading presumption should therefore apply. The Overview is on JJMT letterhead and



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contains multiple references to both Wunderlin and deAlteris. (FAC, Ex. 4). Most tellingly, the

Overview identifies Wunderlin and deAlteris as Managing Partners and invites potential investors

to reach out to “any” of the Managing Partners for more information. (FAC, Ex. 4, p. 15). A

reasonable inference from the inclusion of their names in the Overview is that Wunderlin and

deAlteris reviewed the Overview and gave approval for their names to be included in the

Overview. After all, all of the Individual Defendants benefitted from the funds being solicited by

Schweinzger. Likewise, in his October 9 E-mail, Schweinzger mentions that the Managing

Partners of JJMT, “we (the Managing Partners) pencil you in for up to the total amount you’ve

committed.” (FAC, Ex. 3, p. 2). Each promissory note drafted by and issued by JJMT contained

specific statements that the money would be used to fund specific media purchases. (Ex. 5-19).

         Therefore, it is clear that all of the Individual Defendants can be held accountable for the

false statements relied upon by the Aronsons. Defendants’ reliance on Jackson v. South Holland

Dodge, Inc., 197 Ill.2d 39, 41 (Ill. 2001) for the proposition that they can avoid individual liability

under the ICFA is misguided. In Jackson, the plaintiff sought to include a car manufacturer in a

consumer fraud claim on the basis that the car manufacturer provided a blank form that was later

filled in by third parties not employed or controlled by that car manufacturer. Id. at 52–53. Unlike

the blank forms at issue in Jackson, the Aronsons allege—and are entitled to a presumption— that

the Individual Defendants are themselves directly responsible for the creation and dissemination

of the misrepresentations in the various communications made by Schweinzger and JJMT issued

documents, such as the Notes and Overview.

    B. The Aronsons Alleged Facts in the First Amended Complaint that Demonstrate that
       Wunderlin and deAlteris were “Controlling Persons” of JJMT under the ISL.

         There can be no dispute from Defendants that Wunderlin and deAlteris were “managing

members” of JJMT at all relevant times. Under Delaware law, a member in a member-managed



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limited liability company (an “LLC”) has the power to manage the LLC in proportion to its

ownership share. 6 Del. C. § 18–402. The Seventh Circuit Court of Appeals has held that, “[b]y

default, under Delaware law, authority is vested in the members of an LLC.” In re Longview

Aluminum, L.L.C., 657 F.3d 507, 510 (7th Cir. 2011). In Longview, a member of a Delaware LLC

asserted that he should not be considered an “insider” of the LLC because he had essentially been

frozen out of control of that LLC. Id. at 510–511. The Seventh Circuit rejected that claim, holding

that his member status “caused him to retain meaningful rights and control given to members” and

that a member in a member-managed LLC would be akin to a director of a corporation. Id. at 511.

         Under the Illinois Securities Law, a “controlling person” means any person offering or

selling a security, or group of persons acting in concert in the offer or sale of a security, who

directly or indirectly controls the activities of the issuer. 815 ILCS 5/2.4. As a Court in this District

has recently held, “a controlling person need not always take overt action, but ‘there must be some

showing of assent, approval or concurrence, albeit tacit approval, in the action of the group selling

securities, before an individual will be held liable for the action of the controlling group.’”

Diamond v. Nicholls, 483 F. Supp. 3d 577, 591 (N.D. Ill. 2020) (quoting Elipas v. Jedynak, No. 7

C 3026, 2010 WL 1286795, at *5 (N.D. Ill. Mar. 26, 2010)). The Court noted that “[s]ome

connection with the sale, or decision to sell, securities is required under the statute.” Diamond, 483

F. Supp. 3d at 591 (quoting Elipas, 2010 WL 1286795, at *5).

         Even at this embryonic stage of this litigation, it is clear that Wunderlin and deAlteris were

involved in the decision to sell the Aronsons’ securities and gave approval, assent or at least “tacit

approval” to the sale of the securities in question. Wunderlin and deAlteris’s names are contained

in the Overview and the October 9 E-mail. As managing-members of JJMT, there is a reasonable

inference that Wunderlin and deAlteris authorized the securities like the Aronsons bought.




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Minimally, Plaintiffs are entitled to this presumption at the Motion to Dismiss stage.

         Beyond the direct references to Wunderlin and deAlteris in the various offering materials

provided to the Aronsons, the Aronsons allege that Wunderlin and deAlteris were motivated to

obtain new investments for Horwitz and his entities; namely that the funds funneled through

Horwitz’s entities would be used to pay them back for their own investments in Horwitz’s alleged

Ponzi scheme (FAC, ¶¶ 25, 50). In Froehlich v. Matz, a defrauded investor solicited new

investments in a sham corporation that was partly controlled by him to lessen his own losses and

the Illinois Appellate Court found that he was a “controlling person” for purposes of the ISL.

Froehlich v. Matz, 417 N.E.2d 183, 194 (Ill. App. Ct. 1981). Likewise, the Aronsons allege that

Wunderlin and deAlteris’ solicitation of the Aronsons lessened their exposure to Horwitz’s Ponzi

scheme. (FAC, ¶¶ 25, 50).

    C. Defendants’ Alleged “Anti-Reliance” Argument Does Not Bar Plaintiffs’ Claims, as a
       Matter of Law.

         The existence of an alleged “anti-reliance clause” in the Overview does not provide a

defense that defeats the Aronsons’ claims as a matter of law, and the Aronsons have asserted that

the misrepresentations were made contemporaneously, not prior, to the delivery of the Overview.

         1. Defendants’ Purported Anti-Reliance Clause Cannot Form the Basis for
            Dismissal Under Rule 12(b)(6).

         The reasonableness of the Aronsons’ reliance on Defendants’ misrepresentations is an issue

in Counts I, II, V, VI, VII, and VIII. As a matter of law, reliance is generally a question of fact.

Cozzi Iron & Metal, Inc. v. U.S. Office Equip., Inc., 250 F.3d 570, 574 (7th Cir. 2001). The

reasonableness of reliance can only be decided as a matter of law “when only one conclusion can

be drawn” Id. Defendants have failed to present a reason why only one conclusion can be drawn

from the facts alleged by the Aronsons.




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         Importantly, the Seventh Circuit Court of Appeals’ decision in Rissman v. Rissman, 213

F.3d 381, 384 (7th Cir. 2000), does not hold that the existence of a non-reliance clause precludes

a finding of reasonable reliance on a prior representation, as a matter of law. Rissman, 213 F.3d at

388–89 (Rovern, J., concurring); see also Petrakopoulou v. DHR Int’l, Inc., 590 F. Supp. 2d 1013,

1018 (N.D. Ill. 2008). Rather, a determination of reasonable reliance depends on an analysis of all

relevant factors. Trapelli v. Advanced Equities, Inc., 215 F. Supp. 2d 964, 970-971 (N.D. Ill. 2002).

         Importantly, Rissman and Horlbeck, the two main cases Defendants cite were both decided

at the summary judgment stage, not the motion to dismiss stage. Rissman, 213 F.3d at 383; In re

Horlbeck, 589 B.R. 818, 825 (Bankr. N.D. Ill. 2018). Indeed, courts across this country have held

that an anti-reliance clause should not be enforced via a motion to dismiss. See Supernova Sys.,

Inc., v. Great Am. Broadband, Inc., No. 1:10-CV-319, 2012 WL 860408, at *5 (N.D. Ind. Mar. 12,

2012) (collecting cases holding that Rissman should not apply in a motion to dismiss).

         While Defendants cite Rissman and Horlbeck for general propositions they fail to explain

why the anti-reliance clause and integration clause in the Overview, taken in a vacuum, bar the

Aronsons’ claims as a matter of law when contemporaneous written statements were delivered to

the Aronsons via the October 9 E-mail. In Rissman, the plaintiff alleged he relied on prior oral

representations. Rissman, 213 F.3d at 383. In this case, the Aronsons allege that they relied on the

Defendants’ contemporaneous written misrepresentations which were intended to and did

overshadow the Overview in some respects. Because the October 9 E-Mail was delivered

contemporaneously, Rissman is distinguishable and provides no support to Defendants’ conclusion

that the Aronsons’ reliance on the misrepresentations in the October 9 E-mail was unreasonable as

a matter of law.

         Second, the oral nature of the misrepresentations in Rissman was a significant factor in the




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Seventh Circuit’s reasoning affirming the validity of the anti-reliance clause because those oral

statements are subject to the vagaries of memory and fabrication. Id. at 384. Here, there is no

danger that the Plaintiffs are misremembering Defendants’ deceptive and fraudulent statements—

those statements are in writing and were transmitted at the same time the Overview was given and

at later dates. Therefore, Defendants’ reliance on Rissman is misplaced.

    D. The Anti-Reliance Clause Does Not Protect Defendants from the Misrepresentations
       in the October 9 E-mail Since It Constitutes a Part of the Offering Materials.

         Defendants’ reliance on their own “anti-reliance” clause is misguided because the anti-

reliance clause in the Subscription Agreement defines the October 9 E-mail as part of the Offering

Materials.

         The Subscription Agreement, drafted by Defendants, defines “Offering Materials” as

“collectively, the ‘Investor Opportunity Overview’ as previously provided to the Investor, and

this Agreement, including the form Note attached as an appendix to this Agreement.” (FAC, Ex.

3, Subscription Agreement, p. 1) (emphasis added). The Subscription Agreement goes on to say

that the Plaintiffs are “entering into this Agreement relying solely on the information set forth in

this Agreement and the other Offering Materials.” (FAC, Ex. 3, Subscription Agreement, p. 4).

         Plaintiffs allege that the October 9 E-mail constitutes a part of the “Offering Materials”

because it was precisely an aspect of the “previously provided” Investor Opportunity Overview

(FAC, ¶ 40). Specifically, the October 9 E-mail provided the Overview to Plaintiffs, and is

therefore an integral part of the “Offering Materials.” Any ambiguity in a contract is resolved

against the drafter of the document. Stampley v. Altom Transp., Inc., 958 F.3d 580, 586 (7th Cir.

2020). Defendants drafted the Subscription Agreement and they included the “as previously

provided” language, and therefore the October 9 E-mail can fairly be construed as a component of

the Offering Materials.



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         Finally, Defendants must have intended that the Aronsons rely on the information in the

October 9 E-mail since it was the only place that provided certain details regarding JJMT’s

investment process. Newman v. Metro. Life Ins. Co., 885 F.3d 992, 1001 (7th Cir. 2018). In

Newman, the Seventh Circuit held that a party was justified in relying on a brochure that was not

part of an insurance policy because that brochure was the only place where directions regarding a

plan was provided. Id. Here, the October 9 E-mail contains an in-depth breakdown on when capital

calls are made; that information is not included in the Overview. Finally, the notes sold by

Defendants contain their own misrepresentations embedded in them; the money was not used by

JJMT to finance specific movie rights, they were sold so that JJMT and the Individual Defendants

could lend that money to the 1inMM Entities and receive a higher rate of return. Defendants’ anti-

reliance clause does not permit them to have this case dismissed as a matter of law.

    E. Defendants’ Attempted Disclaimer Does Not Negate the Materiality Prong of
       Plaintiffs’ Claims Under the ISL or Common Law Fraud.

         Defendants purported disclaimer does not bar the Aronsons’ claims because Defendants

failed to provide the Aronsons with any “meaningful cautionary language” that could bar their

claims as a matter of law. Specifically, at the same time that the Overview provided cautionary

statements about a possible inability of JJMT to pay back investments, Schweinzger was

affirmatively stating to the Aronsons that securities issued by JJMT were a “very low risk debt

investment vehicle” and that it was an “excellent outlet for excess cash that’s otherwise in a

checking account or low interest bearing money market fund.” (FAC, ¶¶ 30, 34). The October 9

E-mail also states that JJMT, not the 1inMM Entities, were the ones buying and selling media

rights. (FAC, ¶¶ 30-35, Ex. 3). Indeed, in the October 9 E-mail, Schweinzger stated that capital

calls are not made until “[o]nce we have a deal completely negotiated, signed up and ready.” (FAC,

¶ 35, Ex. 3).



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         It is absurd for Defendants to claim these statements—provided at exactly the same time

and in the same communication as the Overview—collectively provide any type of “meaningful

cautionary language” to the Aronsons. In fact, these statements are the very opposite of

“cautionary” language, as Defendants affirmatively stated that investments with JJMT were “very

low risk” and equated them with zero risk vehicles, such as checking accounts, and state that capital

calls are not made until JJMT has deals signed up and negotiated. The October 9 E-mail also falsely

stated that JJMT was purchasing the film rights and selling them directly to media producers.

         To the extent that the Overview contained some cautionary language, it is completely

negated or downplayed by the statements contained in the October 9 E-mail. Indeed, Defendants’

proffered case—Lagen v. Balcor Co., 653 N.E.2d 968 (Ill. App. Ct. 1995) demonstrates that

absurdity. In Lagen, potential investors were sent private placement memorandums (“PPMs”) that

were 100 pages long and contained “detailed information” concerning the potential investments

and tax and legal aspects of the investment. Id. at 971. The plaintiffs in Lagen then sued the

company that issued the PPMs after federal law was changed that made their investments heavily

taxed. The Second District held that the extensive cautionary language in the PPMs did not

“downplay or ignore” the possibility of changes in federal taxation law. Id. at 974. As stated above,

the Defendants took the opposite tact in the October 9 E-mail to the Aronsons—they heavily

downplayed the risk and made inaccurate factual disclosures.

         Finally, the “bespeaks doctrine” bars Defendants from asserting that the cautionary

statements protect them, since Defendants possessed materially adverse information about their

supposed deals with media companies and did not disclose them to the Aronsons. Rasgaitis v.

Waterstone Fin. Grp., Inc., 985 N.E.2d 621, 632 (Ill. App. Ct. 2013). Because the October 9 E-

mail and subsequent communications are replete with lies and false statements, the “bespeaks




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doctrine” prevents Defendants from asserting that their other cautionary statements somehow

shield them from liability.

    F. The Aronsons Have Properly Plead a Consumer Fraud Act Claim.

         The Aronsons have properly plead a cause of action under the ICFA. As discussed above,

the Aronsons have plead multiple deceptive acts, including false statements regarding JJMT’s role

in procuring deals with media creators/distributors and false statements about JJMT conducting

due diligence on those deals. The crux of the Aronsons’ complaint is not that 1inMM defrauded

JJMT, but rather JJMT defrauded the Aronsons by, inter alia, making false and deceptive

statements about JJMT’s role.

         The Aronsons have sufficiently alleged that Defendants intended that they rely upon their

deceptive conduct. A plaintiff need not prove that a defendant intended to deceive him or her, only

that the defendant intended that the plaintiff rely upon the deceptive conduct at issue. Capiccioni

v. Brennan Naperville, Inc., 791 N.E.2d 553, 558 (Ill. App. Ct. 2003). Defendants argue that they

could not have deceived the Aronsons since Defendants did not know they were funding Horwitz’s

Ponzi scheme. However, regardless of whether they knew about the Ponzi scheme (an open

question at this point), the Individual Defendants nonetheless made deceptive statements about

JJMT itself, the investments JJMT was offering, and JJMT’s level of due diligence regarding the

investments.

         Finally, the Aronsons sufficiently alleged that they were in fact deceived and damaged by

the deception, as they invested millions of dollars with JJMT based on the Individual Defendants’

deceptive statements. Importantly, plaintiffs like the Aronsons only need to make “minimal”

allegations “since that determination is best left to the trier of fact.” Connick v. Suzuki Motor Co.,

Ltd., 675 N.E.2d 584, 504 (Ill. 1996). For a plaintiff to establish proximate causation, the plaintiff




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must show “that he or she was, ‘in some manner, deceived’ by the misrepresentation.” Avery v.

State Farm Mut. Auto. Ins. Co., 835 N.E.2d 801, 200 (Ill. 2005). The Aronsons have alleged that

they invested millions of dollars with JJMT based on the multitude of deceptive statements made

in the October 9 E-mail, the Overview, and subsequent statements, and that the Aronsons were

financially damaged as a result. The Aronsons have therefore properly plead proximate cause

under the ICFA.

         Defendants’ alleged lack of knowledge regarding Horwitz’s Ponzi scheme is immaterial to

the Aronsons’ fraud claims because the Individual Defendants misrepresented the role of JJMT

itself and its use of the Aronsons’ money.

         The Aronsons have plead that Defendants made numerous false statements of material fact

in the October 9 E-Mail, the Overview, and in subsequent updates to investors about JJMT itself.

Defendants knew these statements were false since JJMT never actually negotiated any deals with

any media creators or distributors and never confirmed any fact about any of these investments

with the entities themselves. Beyond making knowingly false representations about JJMT, the

Aronsons plead that the Defendants made statements about the 1inMM Entities “with a reckless

disregard for their truth or falsity.” Newman, 885 F.3d at 1003. The Aronsons alleged that

Defendants “due diligence” regarding 1inMM Entities was limited to Defendants asking Horwitz

to confirm the truthfulness of his own statements and blindly relying on documents that Horwitz

provided. In fact, the Declarations attached to the Aronsons’ Complaint and Defendants’

Response, confirm a virtual lack of actual due diligence. Defendants essentially admit that they

were totally reckless in investing JJMT’s money; they simply relied upon Horwitz’s verbal

statements and documents that Horwitz himself provided. (FAC, Ex. 1, ¶ 10). While they were

blindly accepting Horwitz’s statements as true, JJMT distributed the Overview and other




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documents to the Aronsons which stated the 1inMM Entities’ projects did in fact exist. Later

communications stated that the 1inMM Entities had actually fixed the 1inMM Entities’ issues with

Netflix. (FAC, ¶ 63). Defendants did not care whether the 1inMM Entities actually invested the

money in film projects because they were making money from the Aronsons by taking their money,

promising a rate of return, and then being promised a higher rate of return from the 1inMM

Entities. (FAC. ¶ 50). This is a reasonable conclusion since Defendants had money invested in the

1inMM Entities prior to taking the Aronsons’ money.

         Finally, Defendants suggest that the Aronsons’ reliance on their untrue statements was not

justified because the Aronsons could have done their own due diligence. However, under Illinois

law, “one is justified in relying upon the representations of another, without independent

investigation, where the person to whom the representations are made does not have the same

ability to discover the truth as the person making the representations.” Gerill Corp. v. Jack L.

Hargrove Builders, Inc., 538 N.E.2d 530, 537 (Ill. 1989). This case presents a textbook set of facts

demonstrating that Defendants were in the best (and probably the only) position to discover the

truth or falsity of Horwitz’s scheme.

         The Aronsons were justified in relying on Schweinzger’s October 9 E-mail and the

statements in the Overview and subsequent statements because Defendants, not the Aronsons, had

the relationship with Horwitz. It is difficult to imagine what kind of investigation or process

Defendants can expect the Aronsons to engage in. Finally, the Overview directed the Aronsons to

contact the general partners of JJMT, not Horwitz, for more information; it did not provide the

Aronsons with any way of getting in contact with Horwitz or HBO, Netflix or Sony. Defendants,

not the Aronsons, were the ones selling a product, and representing the investments’ integrity.

    G. Plaintiffs Have Plead Facts That Support Their Fraudulent Misrepresentation Claim.




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         Beyond their reliance on their vague and unenforceable anti-reliance clause, Defendants’

only argument related to the Aronsons’ fraudulent misrepresentation claims is that Schweinzger

did not know about Horwitz’s Ponzi scheme. As discussed above in Sections II.E, and II.F, the

Aronsons allege that Schweinzger made false statements about JJMT’s role in the movie funding

business, and Schweinzger knew those statements were false. Moving beyond the obviously false

statements about JJMT itself, the Aronsons allege that Schweinzger recklessly disregarded the

truth about Horwitz’s Ponzi scheme by refusing to take even rudimentary due diligence steps like

speaking to either the movie content creators or distributors to confirm the existence of the movie

deals.

    H. The Moorman Doctrine Does Not Bar Plaintiffs’ Negligent Misrepresentation Claim
       Because Defendants Were in the Business of Providing Information.

         The Aronsons have adequately plead that Defendants had a duty to convey accurate

information and the “Moorman Doctrine” does not bar the Aronsons’ negligent misrepresentation

claim.

         As Defendants note, there is an exception under the Moorman Doctrine for individuals who

are information suppliers. Tolan & Son, Inc. v. KLLM Architects, Inc., 719 N.E.2d 288, 291 (Il.

App. 1999). Importantly, the “supplying of information need not encompass the enterprise's entire

undertaking but must be central to the business transaction between the parties.” Id. at 297. Here,

Defendants placed themselves into a position where they were information providers. In the

October 9 E-mail, Schweinzger states that one of the key services that JJMT provides to investors

is providing “all the deal specifics and make sure you’re still good” (FAC, Ex. 3). Therefore, a key

component of what Defendants claimed to provide to the Aronsons was information. See Premier

Cap. Mgmt., LLC v. Cohen, No. 02 C 5368, 2008 WL 4378300, at *26 (N.D. Ill. Mar. 24, 2008)

(noting there is an “obvious legal ambiguity” over stock, which is an “obvious example of



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something in between the two extremes: stock is a product that can be sold, yet information on the

value of the stock is a key component”). Similarly, in Zurad v. Lehman Bros. Kuhn Loeb, 757 F.2d

129 (7th Cir. 1985), the Seventh Circuit Court of Appeals determined that the defendant brokerage

firm could be held liable as an information provider. 870 F.2d at 133–34. Likewise, in Rankow v.

First Chi. Corp., 870 F.2d 356, 366 (7th Cir. 1989), the Seventh Circuit held that a bank which

sold stock to the plaintiffs had a duty to provide accurate information in a prospectus.

         Here, the Defendants assumed the role of an information provider because information

related to the acquisition of media projects was central to the transaction between the Aronsons

and JJMT. Defendants asserted in the October 9 E-mail that they would not contact the Aronsons

for capital until “we have a deal completely negotiated, signed up and ready.” (FAC, Ex. 3)

(emphasis added). Therefore, Defendants assumed a duty to convey accurate information.

    I. Plaintiffs Have Adequately Plead a Conspiracy.

         The Aronsons have properly plead a civil conspiracy claim. The elements of civil

conspiracy include: “(1) a combination of two or more persons; (2) for the purpose of

accomplishing by some concerted action either an unlawful purpose or a lawful purpose by

unlawful means; (3) in the furtherance of which one of the conspirators committed an overt tortious

or unlawful act.” Linkepic Inc. v. Vyasil, LLC, 370 F.Supp.3d 906, 925 (N.D. Ill. 2019).

         Furthermore, “[c]onspiracies are often intentionally ‘shrouded in mystery,’ which by

nature makes it difficult for the plaintiff to allege with complete specificity all of the details of the

conspiracy.” Ill. Non-Profit Risk Mgmt. Ass’n v. Hum. Serv. Ctr. Of S. Metro-E., 884 N.E.2d 700,

711 (Ill. App. Ct. 2008). As a result, conspiracy is typically established “from circumstantial

evidence and inferences drawn from evidence, coupled with commonsense knowledge of the

behavior of persons in similar circumstances.” Adcock v. Brakegate, Ltd., 645 N.E.2d 888, 894




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(Ill. 1994). Therefore, a plaintiff “cannot be required to plead with specificity the very facts that

can only be proven by circumstantial evidence.” Id. at 895; see also Patrick v. City of Chi., 213 F.

Supp. 3d 1033, 1057 (N.D. Ill. 2016). The Aronsons plead that the Defendants conspired with

each other to defraud the Aronsons (and other investors) out of money by making false statements

about JJMT and its role in obtaining media rights and selling them for profit and that the

Defendants willfully ignored the validity of the 1inMM Entities’ business dealings because the

Defendants were enriching themselves at the expense of Plaintiffs and other investors. (FAC, ¶

50).

    J. Plaintiffs Can Plead Notice Under the ISL.

          Finally, Defendants argue that the Aronsons must allege they sent the notice required by

Section 13 of the Illinois Securities Law. 815 ILCS 5/13(B). Importantly, Defendants do not allege

that notice was not sent, because it was served upon Defendants’ counsel as well as the current

members of JJMT. Plaintiffs can allege reliance and will do so, if the Court requires it. Wislow v.

Wong, 713 F. Supp. 1103, 1107 (N.D. Ill. 1989) (giving a plaintiff an opportunity to make the

notice allegation since counsel represented they could).

          WHEREFORE, for the reasons stated in this Response, Plaintiffs Steven Aronson and

Matthew Aronson respectfully ask that this Court deny Defendants’ Motion, or in the alternative

give Plaintiffs leave to file an amended complaint, or any other relief this Court deems just and

proper.

                                                                      RESPECTFULLY SUBMITTED,
                                                                  Steven Aronson and Matthew Aronson
                                                                     By: s/Daniel S. Rubin

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                                     CERTIFICATE OF SERVICE

         The undersigned, an attorney, hereby certifies that on September 8 , 2021, the foregoing

Response to Motion to Dismiss was served via email on the following attorneys of record:

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                                                      STEVEN ARONSON, MATTHEW ARONSON

                                                       BY: /s/ Daniel S. Rubin
                                                                 One of His Attorneys

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10   UNITED STATES OF AMERICA
11                             UNITED STATES DISTRICT COURT
12                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13   UNITED STATES OF AMERICA,                    No. CR 21-214-MCS

14               Plaintiff,                       PLEA AGREEMENT FOR DEFENDANT
                                                  ZACHARY JOSEPH HORWITZ
15                     v.

16   ZACHARY JOSEPH HORWITZ,

17               Defendant.

18

19               This constitutes the plea agreement between ZACHARY JOSEPH
20   HORWITZ (“defendant”) and the United States Attorney’s Office for the
21   Central District of California (the “USAO”) in the above-captioned
22   case.   This agreement is limited to the USAO and cannot bind any
23   other federal, state, local, or foreign prosecuting, enforcement,
24   administrative, or regulatory authority.
25                                DEFENDANT’S OBLIGATIONS
26               Defendant agrees to:
27               a.     At the earliest opportunity requested by the USAO and
28   provided by the Court, appear and plead guilty to count one of the


                                                                 EXHIBIT 1
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1    indictment in United States v. Zachary Joseph Horwitz, CR No. 21-214-

2    MCS, which charges defendant with securities fraud, in violation of

3    15 U.S.C. §§ 78j(b), 78ff and 17 C.F.R. § 240.10b-5.

4                b.     Not contest facts agreed to in this agreement.

5                c.     Abide by all agreements regarding sentencing contained

6    in this agreement.

7                d.     Appear for all court appearances, surrender as ordered

8    for service of sentence, obey all conditions of any bond, and obey

9    any other ongoing court order in this matter.
10               e.     Not commit any crime; however, offenses that would be
11   excluded for sentencing purposes under United States Sentencing
12   Guidelines (“USSG” or “Sentencing Guidelines”) § 4A1.2(c) are not
13   within the scope of this agreement.
14               f.     Be truthful at all times with the United States
15   Probation and Pretrial Services Office and the Court.
16               g.     Pay the applicable special assessment at or before the
17   time of sentencing unless defendant has demonstrated a lack of
18   ability to pay such assessments.

19               h.     Defendant agrees that any and all criminal debt

20   ordered by the Court will be due in full and immediately.                  The

21   government is not precluded from pursuing, in excess of any payment

22   schedule set by the Court, any and all available remedies by which to

23   satisfy defendant’s payment of the full financial obligation,

24   including referral to the Treasury Offset Program.

25               i.     Complete the Financial Disclosure Statement on a form

26   provided by the USAO and, within 30 days of defendant’s entry of a

27   guilty plea, deliver the signed and dated statement, along with all

28   of the documents requested therein, to the USAO by either email at

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1    usacac.FinLit@usdoj.gov (preferred) or mail to the USAO Financial

2    Litigation Section at 300 North Los Angeles Street, Suite 7516, Los

3    Angeles, CA 90012.       Defendant agrees that defendant’s ability to pay

4    criminal debt shall be assessed based on the completed Financial

5    Disclosure Statement and all required supporting documents, as well

6    as other relevant information relating to ability to pay.

7                j.     Authorize the USAO to obtain a credit report upon

8    returning a signed copy of this plea agreement.

9                k.     Consent to the USAO inspecting and copying all of
10   defendant’s financial documents and financial information held by the
11   United States Probation and Pretrial Services Office.
12               l.     Agree that all court appearances, including his change
13   of plea hearing and sentencing hearing, may proceed by video-
14   teleconference (“VTC”), so long as such appearances are authorized by
15   Order of the Chief Judge 20-097 or another order, rule, or statute.
16   Defendant understands that, under the Constitution, the United States
17   Code, the Federal Rules of Criminal Procedure (including Rules 11,
18   32, and 43), he may have the right to be physically present at these

19   hearings.     Defendant understands that right and, after consulting

20   with counsel, voluntarily agrees to waive it and to proceed remotely.

21   Defense counsel also joins in this consent, agreement, and waiver.

22   Specifically, this agreement includes, but is not limited to, the

23   following:

24                      i.    Defendant consents under Section 15002(b) of the

25   CARES Act to proceed with his change of plea hearing by VTC.

26                      ii.   Defendant consents under Section 15002(b) of the

27   CARES Act to proceed with his sentencing hearing by VTC if personal

28   appearance is deemed by the Court to be unsafe due to COVID-19

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1    concerns.     The parties agree to use best efforts to conduct the

2    sentencing hearing in person with the Court’s approval.

3                       iii. Defendant consents under 18 U.S.C. § 3148 and

4    Section 15002(b) of the CARES Act to proceed with any hearing

5    regarding alleged violations of the conditions of pretrial release by

6    VTC or telephone, if VTC is not reasonably available.

7                                  THE USAO’S OBLIGATIONS

8                The USAO agrees to:

9                a.     Not contest facts agreed to in this agreement.
10               b.     Abide by all agreements regarding sentencing contained
11   in this agreement.
12               c.     At the time of sentencing, move to dismiss the
13   remaining counts of the indictment as against defendant.                  Defendant
14   agrees, however, that at the time of sentencing the Court may
15   consider any dismissed charges in determining the applicable
16   Sentencing Guidelines range, the propriety and extent of any
17   departure from that range, and the sentence to be imposed.
18               d.     At the time of sentencing, provided that defendant

19   demonstrates an acceptance of responsibility for the offense up to

20   and including the time of sentencing, recommend a two-level reduction

21   in the applicable Sentencing Guidelines offense level, pursuant to

22   USSG § 3E1.1, and recommend and, if necessary, move for an additional

23   one-level reduction if available under that section.

24                                 NATURE OF THE OFFENSE

25               Defendant understands that for defendant to be guilty of

26   the crime charged in count one, that is, securities fraud, in

27   violation of 15 U.S.C. §§ 78j(b), 78ff and 17 C.F.R. § 240.10b-5, the

28   following must be true:

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1          (1) defendant willfully used a device or scheme to defraud

2          someone, made an untrue statement of a material fact, failed to

3          disclose a material fact that resulted in making the defendant’s

4          statements misleading, or engaged in any act, practice, or

5          course of business that operates or would operate as a fraud or

6          deceit upon any person;

7          (2) defendant’s acts were undertaken, statement was made, or

8          failure to disclose was done in connection with the purchase and

9          sale of securities within the meaning of 15 U.S.C. § 78c(a)(10);
10         (3) defendant directly or indirectly used wire communications in
11         connection with these acts, making this statement, or this
12         failure to disclose; and
13         (4) defendant acted knowingly.
14         “Willfully” means intentionally undertaking an act, making an
15   untrue statement, or failing to disclose for the wrongful purpose of
16   defrauding or deceiving someone.             Acting willfully does not require
17   that the defendant know that the conduct was unlawful.
18         A fact is material if there is a substantial likelihood that a

19   reasonable investor would consider it important in making the

20   decision to purchase securities.

21         It is not necessary that an untrue statement passed through or

22   over the wire communications so long as the wire communications were

23   used as a part of the transaction.

24         It is not necessary that defendant made a profit or that anyone

25   actually suffered a loss.

26                               PENALTIES AND RESTITUTION

27               Defendant understands that the statutory maximum sentence

28   that the Court can impose for a violation of 15 U.S.C. §§ 78j(b),

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1    78ff and 17 C.F.R. § 240.10b-5 is: twenty years of imprisonment; a

2    three-year period of supervised release; a fine of $5 million or

3    twice the gross gain or gross loss resulting from the offense,

4    whichever is greatest; and a mandatory special assessment of $100.

5                Defendant understands that defendant will be required to

6    pay full restitution to the victims of the offense to which defendant

7    is pleading guilty and agrees to make such restitution.                 Defendant

8    understands and agrees that although a violation of 18 U.S.C. § 1343

9    does not constitute the count of conviction in this plea agreement,
10   this plea agreement relates to such a charge, which is an offense
11   against property, within the meaning of 18 U.S.C. § 3663A(c)(2),
12   thereby bringing this offense within the ambit of 18 U.S.C. § 3663A.
13   Defendant agrees that, in return for the USAO’s compliance with its
14   obligations under this agreement, the Court may order restitution to
15   persons other than the victims of the offense to which defendant is
16   pleading guilty, and in amounts greater than those alleged in the
17   count to which defendant is pleading guilty, so long as such persons
18   qualify as “victims,” within the meaning of 18 U.S.C. § 3663A(a)(2),

19   of defendant’s offense and/or relevant conduct.               In particular,

20   defendant agrees that the Court may order restitution to any victim

21   of any of the following for any losses suffered by that victim as a

22   result: (a) any relevant conduct, as defined in USSG § 1B1.3, in

23   connection with the offense to which defendant is pleading guilty;

24   and (b) any counts dismissed pursuant to this agreement as well as

25   all relevant conduct, as defined in USSG § 1B1.3, in connection with

26   those counts.      Defendant understands that the Court may impose, and

27   the USAO reserves the right to seek, restitution on any basis

28   permitted by law.

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1                Defendant understands that supervised release is a period

2    of time following imprisonment during which defendant will be subject

3    to various restrictions and requirements.             Defendant understands that

4    if defendant violates one or more of the conditions of any supervised

5    release imposed, defendant may be returned to prison for all or part

6    of the term of supervised release authorized by statute for the

7    offense that resulted in the term of supervised release, which could

8    result in defendant serving a total term of imprisonment greater than

9    the statutory maximum stated above.
10               Defendant understands that, by pleading guilty, defendant

11   may be giving up valuable government benefits and valuable civic

12   rights, such as the right to vote, the right to possess a firearm,

13   the right to hold office, and the right to serve on a jury.

14   Defendant understands that he is pleading guilty to a felony and that

15   it is a federal crime for a convicted felon to possess a firearm or

16   ammunition.     Defendant understands that the conviction in this case

17   may also subject defendant to various other collateral consequences,

18   including but not limited to revocation of probation, parole, or

19   supervised release in another case and suspension or revocation of a

20   professional license.        Defendant understands that unanticipated

21   collateral consequences will not serve as grounds to withdraw

22   defendant’s guilty plea.

23         9.    Defendant and his counsel have discussed the fact that, and

24   defendant understands that, if defendant is not a United States

25   citizen, the conviction in this case makes it practically inevitable

26   and a virtual certainty that defendant will be removed or deported

27   from the United States.        Defendant may also be denied United States

28   citizenship and admission to the United States in the future.

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1    Defendant understands that while there may be arguments that

2    defendant can raise in immigration proceedings to avoid or delay

3    removal, removal is presumptively mandatory and a virtual certainty

4    in this case.      Defendant further understands that removal and

5    immigration consequences are the subject of a separate proceeding and

6    that no one, including his attorney or the Court, can predict to an

7    absolute certainty the effect of his conviction on his immigration

8    status.    Defendant nevertheless affirms that he wants to plead guilty

9    regardless of any immigration consequences that his plea may entail,
10   even if the consequence is automatic removal from the United States.
11                                       FACTUAL BASIS

12               Defendant admits that defendant is, in fact, guilty of the

13   offense to which defendant is agreeing to plead guilty.                 Defendant

14   and the USAO agree to the statement of facts provided below and agree

15   that this statement of facts is sufficient to support a plea of

16   guilty to the charge described in this agreement and to establish the

17   Sentencing Guidelines factors set forth in paragraph 12 below but is

18   not meant to be a complete recitation of all facts relevant to the

19   underlying criminal conduct or all facts known to either party that

20   relate to that conduct.

21         In or about 2013, defendant founded 1inMM Capital, LLC (“1inMM

22   Capital”), which defendant promoted as a film distribution company.

23   1inMM Capital’s principal place of business was in Los Angeles,

24   California.

25         Beginning no later than in or about March 2014, and continuing

26   through at least on or about April 6, 2021, in Los Angeles County,

27   within the Central District of California, and elsewhere, defendant

28   knowingly and willfully, by the use of the means and

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1    instrumentalities of interstate commerce, in connection with the

2    purchase and sale of securities, used and employed manipulative and

3    deceptive devices and contrivances, in violation of Title 15, United

4    States Code, Sections 78j(b) and 78ff, and Title 17, Code of Federal

5    Regulations, Section 240.10b-5, by: (1) employing a scheme to

6    defraud; (2) making untrue statements of material facts and omitting

7    to state material facts necessary in order to make the statements

8    made, in light of the circumstances under which they were made, not

9    misleading; and (3) engaging in acts, practices, and courses of
10   business which operated and would operate as a fraud and deceit upon
11   purchasers of securities (the “investors”).              Defendant did so by
12   making and causing to be made materially false and fraudulent
13   statements and material omissions to the investors about defendant
14   and 1inMM Capital’s use of their investments.
15         In execution of the fraudulent scheme, defendant made offers to
16   investors to purchase promissory notes issued by 1inMM Capital, which
17   notes constituted “securities” within the meaning of the Securities
18   Exchange Act of 1934, by making a series of false and misleading

19   statements and by using various deceptive contrivances.                 Each of

20   these statements and contrivances was material to investors.

21   Specifically, defendant falsely represented to investors that 1inMM

22   Capital would purchase distribution rights to certain films, which

23   defendant falsely claimed 1inMM Capital would then profitably license

24   to online streaming platforms such as HBO and Netflix for further

25   distribution in regions outside the United States.                To raise funds

26   for 1inMM Capital’s purported business activities, defendant

27   solicited investments from the investors by offering to sell them

28   promissory notes issued by 1inMM Capital and signed by defendant.

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1    The promissory notes guaranteed a specified payment on a specified

2    maturity date, typically six or twelve months in the future.                     Each

3    note listed the principal amount of money borrowed, which typically

4    ranged from approximately $35,000 to $1.5 million, as well as the

5    specified amount to be paid at maturity, a calculated return that

6    ranged from 25 to 45 percent.

7           In connection with the sale of these promissory notes, defendant

8    falsely represented that 1inMM Capital would use the principal amount

9    of money invested pursuant to each note to purchase distribution
10   rights for the film(s) specified as collateral for the note.
11   Defendant also falsely represented that 1inMM Capital would satisfy
12   its obligations under each note through the profits that 1inMM
13   Capital would obtain by acquiring and licensing the distribution
14   rights to the film(s) specified in each note.                Each note contained an
15   assignment of rights provision that listed the specific film(s) that
16   would serve as collateral for the note.               The assignment of rights
17   provision in each note contained express representations and
18   warranties that 1inMM Capital was the sole and exclusive owner of the

19   rights to the listed film(s).            However, as defendant then knew, his

20   representations concerning 1inMM Capital’s business activities and

21   the promissory notes themselves were false and deceptive because

22   1inMM Capital generally did not and would not acquire or possess the

23   film distribution rights for the films specified as collateral in the

24   promissory notes, and 1inMM Capital did not and would not enter into

25   any distribution agreements with the online streaming platforms for

26   these specified films.

27          In furtherance of the scheme, defendant also provided investors

28   with fraudulent copies of purported license agreements between 1inMM

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1    Capital and the sales agents for the production companies of the

2    films identified in the promissory notes.               In fact, as defendant then

3    knew, these license agreements were fake because 1inMM Capital had

4    not acquired the film distribution rights that constituted the

5    purported collateral for the promissory notes and had not entered

6    into the asserted license agreements with the identified sales

7    agents.

8           In furtherance of the scheme, defendant also falsely represented

9    to investors that online streaming platforms had already entered or
10   committed to enter into distribution agreements with 1inMM Capital.
11   Defendant provided investors with copies of these purported
12   distribution agreements when, in fact, as defendant knew, 1inMM
13   Capital had not entered into the asserted distribution agreements
14   with the online streaming platforms and the purported copies of the
15   distribution agreements were fake.
16          In furtherance of the scheme and to lull the investors into
17   believing their funds were safely invested as he had promised,
18   defendant falsely reassured investors that any missed payments on

19   promissory notes were caused by the actions of the online streaming

20   platforms, and that payment on the notes would resume.                   To support

21   these false claims, defendant sent the investors emails and text

22   messages regarding progress addressing the actions purportedly

23   causing the missed payments and the resumption of payments, which

24   defendant claimed had been sent to him by representatives of the

25   online streaming platforms.           In fact, as defendant then knew, he had

26   not been in communication with the online streaming platforms, and

27   the correspondence he was supposedly forwarding was fake.

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1           Through the fraudulent scheme, defendant sold hundreds of

2    promissory notes issued by 1inMM Capital and thereby fraudulently

3    obtained at least $650 million from at least five major groups of

4    private investors.        Defendant understood that these investor groups

5    derived their investments, in part, from various sub-investors who

6    did not have direct contractual agreements with 1inMM Capital, and in

7    fact there were more than 250 such sub-investors (subject to the

8    reservation of rights in paragraph 12 below).                Defendant did not use

9    the invested money as promised but instead used the money to make
10   payments to prior investors, maintain 1inMM Capital’s facade of
11   legitimate operations, make disbursements to himself and entities he
12   controlled, and otherwise finance his own lavish lifestyle.
13   Beginning in or about December 2019, 1inMM Capital began defaulting
14   on all of its outstanding promissory notes.                Thus, to date,
15   defendant, through 1inMM Capital, is in default to investors on a
16   total outstanding principal amount of approximately $230.36 million,
17   and defendant’s scheme has caused substantial financial hardship to
18   at least five investors.

19          For the purpose of executing the above-described scheme to

20   defraud, and in furtherance of the manipulative and deceptive devices

21   described above, defendant directly and indirectly caused the use of

22   instrumentalities of interstate commerce in connection with the

23   purchase and sale of securities.            For example, on or about December

24   14, 2018, defendant caused the interstate wire transfer of

25   approximately $1,425,500 from Investor 1, located in Illinois, to the

26   1inMM Capital Account, located in California, to purchase a

27   promissory note secured by the assignment of rights to the film

28   “Active Measures.”

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1                                      SENTENCING FACTORS

2                 Defendant understands that in determining defendant’s

3    sentence the Court is required to calculate the applicable Sentencing

4    Guidelines range and to consider that range, possible departures

5    under the Sentencing Guidelines, and the other sentencing factors set

6    forth in 18 U.S.C. § 3553(a).            Defendant understands that the

7    Sentencing Guidelines are advisory only, that defendant cannot have

8    any expectation of receiving a sentence within the calculated

9    Sentencing Guidelines range, and that after considering the
10   Sentencing Guidelines and the other § 3553(a) factors, the Court will
11   be free to exercise its discretion to impose any sentence it finds
12   appropriate up to the maximum set by statute for the crime of
13   conviction.
14                Defendant and the USAO agree to the following applicable

15   Sentencing Guidelines factors:

16       Base Offense Level                           7             USSG § 2B1.1(a)(1)

17       Loss of more than $150
         million but not more than
18       $250 million                               +26         USSG § 2B1.1(b)(1)(N)

19       Substantial Financial                       +4         USSG § 2B1.1(b)(2)(B)
         Hardship to 5 or more victims
20
         Sophisticated Means                         +2    USSG § 2B1.1(b)(2)(10)(C)
21

22   Defendant and the USAO reserve the right to argue that additional

23   specific offense characteristics, adjustments, and departures under

24   the Sentencing Guidelines are appropriate.               By way of example, but

25   not limitation, the government reserves the right to argue that

26   defendant’s offense and relevant conduct resulted in substantial

27   financial hardship to 25 or more victims, and defendant reserves the

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1    right to contest the number of sub-investors of the victim investor

2    groups as referenced above at page 12.

3                 Defendant understands that there is no agreement as to

4    defendant’s criminal history or criminal history category.

5                 Defendant and the USAO reserve the right to argue for a

6    sentence outside the sentencing range established by the Sentencing

7    Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

8    (a)(2), (a)(3), (a)(6), and (a)(7).

9                             WAIVER OF CONSTITUTIONAL RIGHTS
10                Defendant understands that by pleading guilty, defendant

11   gives up the following rights:

12                a.     The right to persist in a plea of not guilty.

13                b.     The right to a speedy and public trial by jury.

14                c.     The right to be represented by counsel –- and if

15   necessary have the Court appoint counsel -- at trial.                   Defendant

16   understands, however, that, defendant retains the right to be

17   represented by counsel –- and if necessary have the Court appoint

18   counsel –- at every other stage of the proceeding.

19                d.     The right to be presumed innocent and to have the

20   burden of proof placed on the government to prove defendant guilty

21   beyond a reasonable doubt.

22                e.     The right to confront and cross-examine witnesses

23   against defendant.

24                f.     The right to testify and to present evidence in

25   opposition to the charges, including the right to compel the

26   attendance of witnesses to testify.

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1                 g.     The right not to be compelled to testify, and, if

2    defendant chose not to testify or present evidence, to have that

3    choice not be used against defendant.

4                 h.     Any and all rights to pursue any affirmative defenses,

5    Fourth Amendment or Fifth Amendment claims, and other pretrial

6    motions that have been filed or could be filed.

7                              WAIVER OF APPEAL OF CONVICTION

8                 Defendant understands that, with the exception of an appeal

9    based on a claim that defendant’s guilty plea was involuntary, by
10   pleading guilty defendant is waiving and giving up any right to
11   appeal defendant’s conviction on the offense to which defendant is
12   pleading guilty.        Defendant understands that this waiver includes,
13   but is not limited to, arguments that the statute to which defendant
14   is pleading guilty is unconstitutional, and any and all claims that
15   the statement of facts provided herein is insufficient to support
16   defendant’s plea of guilty.
17                     LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

18                Defendant agrees that, provided the Court imposes a total

19   term of imprisonment within the statutory maximum, defendant gives up

20   the right to appeal all of the following: (a) the procedures and

21   calculations used to determine and impose any portion of the

22   sentence; (b) the term of imprisonment imposed by the Court; (c) the

23   fine imposed by the Court, provided it is within the statutory

24   maximum; (d) to the extent permitted by law, the constitutionality or

25   legality of defendant’s sentence, provided it is within the statutory

26   maximum; (e) the amount and terms of any restitution order, so long

27   as it is less than $235 million; (f) the term of probation or

28   supervised release imposed by the Court, provided it is within the

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1    statutory maximum; and (g) any of the following conditions of

2    probation or supervised release imposed by the Court: the conditions

3    set forth in Second Amended General Order 20-04 of this Court; the

4    drug testing conditions mandated by 18 U.S.C. §§ 3563(a)(5) and

5    3583(d); and the alcohol and drug use conditions authorized by 18

6    U.S.C. § 3563(b)(7).

7                 The USAO agrees that, provided (a) all portions of the

8    sentence are at or below the statutory maximum specified above and

9    (b) the Court imposes a term of imprisonment of no less than 235
10   months’ imprisonment, the USAO gives up its right to appeal any
11   portion of the sentence, with the exception that the USAO reserves
12   the right to appeal the amount of restitution ordered.
13                          RESULT OF WITHDRAWAL OF GUILTY PLEA

14                Defendant agrees that if, after entering a guilty plea

15   pursuant to this agreement, defendant seeks to withdraw and succeeds

16   in withdrawing defendant’s guilty plea on any basis other than a

17   claim and finding that entry into this plea agreement was

18   involuntary, then (a) the USAO will be relieved of all of its

19   obligations under this agreement; and (b) should the USAO choose to

20   pursue any charge that was either dismissed or not filed as a result

21   of this agreement, then (i) any applicable statute of limitations

22   will be tolled between the date of defendant’s signing of this

23   agreement and the filing commencing any such action; and

24   (ii) defendant waives and gives up all defenses based on the statute

25   of limitations, any claim of pre-indictment delay, or any speedy

26   trial claim with respect to any such action, except to the extent

27   that such defenses existed as of the date of defendant’s signing this

28   agreement.

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1                       RESULT OF VACATUR, REVERSAL, OR SET-ASIDE

2           20.   Defendant agrees that if the count of conviction is

3    vacated, reversed, or set aside, both the USAO and defendant will be

4    released from all their obligations under this agreement.

5                                EFFECTIVE DATE OF AGREEMENT

6                 This agreement is effective upon signature and execution of

7    all required certifications by defendant, defendant’s counsel, and an

8    Assistant United States Attorney.

9                                     BREACH OF AGREEMENT
10                Defendant agrees that if defendant, at any time after the

11   effective date of the agreement, knowingly violates or fails to

12   perform any of defendant’s obligations under this agreement (“a

13   breach”), the USAO may declare this agreement breached.                   All of

14   defendant’s obligations are material, a single breach of this

15   agreement is sufficient for the USAO to declare a breach, and

16   defendant shall not be deemed to have cured a breach without the

17   express agreement of the USAO in writing.               If the USAO declares this

18   agreement breached, and the Court finds such a breach to have

19   occurred, then: (a) if defendant has previously entered a guilty plea

20   pursuant to this agreement, defendant will not be able to withdraw

21   the guilty plea, and (b) the USAO will be relieved of all its

22   obligations under this agreement.

23                Following the Court’s finding of a knowing breach of this

24   agreement by defendant, should the USAO choose to pursue any charge

25   that was either dismissed or not filed as a result of this agreement,

26   then:

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1                 a.     Defendant agrees that any applicable statute of

2    limitations is tolled between the date of defendant’s signing of this

3    agreement and the filing commencing any such action.

4                 b.     Defendant waives and gives up all defenses based on

5    the statute of limitations, any claim of pre-indictment delay, or any

6    speedy trial claim with respect to any such action, except to the

7    extent that such defenses existed as of the date of defendant’s

8    signing this agreement.

9                 c.     Defendant agrees that: (i) any statements made by
10   defendant, under oath, at the guilty plea hearing (if such a hearing
11   occurred prior to the breach); (ii) the agreed to factual basis
12   statement in this agreement; and (iii) any evidence derived from such
13   statements, shall be admissible against defendant in any such action
14   against defendant, and defendant waives and gives up any claim under
15   the United States Constitution, any statute, Rule 410 of the Federal
16   Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal
17   Procedure, or any other federal rule, that the statements or any
18   evidence derived from the statements should be suppressed or are

19   inadmissible.

20             COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

21                                     OFFICE NOT PARTIES

22                Defendant understands that the Court and the United States

23   Probation and Pretrial Services Office are not parties to this

24   agreement and need not accept any of the USAO’s sentencing

25   recommendations or the parties’ agreements to facts or sentencing

26   factors.

27                Defendant understands that both defendant and the USAO are

28   free to: (a) supplement the facts by supplying relevant information

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1    to the United States Probation and Pretrial Services Office and the

2    Court, (b) correct any and all factual misstatements relating to the

3    Court’s Sentencing Guidelines calculations and determination of

4    sentence, and (c) argue on appeal and collateral review that the

5    Court’s Sentencing Guidelines calculations and the sentence it

6    chooses to impose are not error, although each party agrees to

7    maintain its view that the calculations in paragraph 12 are

8    consistent with the facts of this case.               While this paragraph permits

9    both the USAO and defendant to submit full and complete factual
10   information to the United States Probation and Pretrial Services
11   Office and the Court, even if that factual information may be viewed
12   as inconsistent with the facts agreed to in this agreement, this
13   paragraph does not affect defendant’s and the USAO’s obligations not
14   to contest the facts agreed to in this agreement.
15                Defendant understands that even if the Court ignores any

16   sentencing recommendation, finds facts or reaches conclusions

17   different from those agreed to, and/or imposes any sentence up to the

18   maximum established by statute, defendant cannot, for that reason,

19   withdraw defendant’s guilty plea, and defendant will remain bound to

20   fulfill all defendant’s obligations under this agreement.                    Defendant

21   understands that no one –- not the prosecutor, defendant’s attorney,

22   or the Court –- can make a binding prediction or promise regarding

23   the sentence defendant will receive, except that it will be within

24   the statutory maximum.

25                                 NO ADDITIONAL AGREEMENTS

26                Defendant understands that, except as set forth herein,

27   there are no promises, understandings, or agreements between the USAO

28   and defendant or defendant’s attorney, and that no additional

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 1   promise, understanding, or agreement may be entered into unless in a
 2   writing signed by all parties or on the record in court.
 3                PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING
 4        28.    The parties agree that this agreement will be considered
 5   part of the record of defendant's guilty plea hearing as if the
 6   entire agreement had been read into the record of the proceeding.
 7   AGREED AND ACCEPTED
 8   UNITED STATES ATTORNEY'S OFFICE
     FOR THE CENTRAL DISTRICT OF
 9   CALIFORNIA
10   TRACY L. WILKISON
     Acting United States Attorney
11
12
                                                            9/1/2021
     ALEXANDER B. SCHWAB                             Date
13   DAVID H. CHAO
14
15
     ZACHA   J    EH H WITZ
16   Defendant
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     12P
       ~
     RYANS. HEDGES
     Attorneys for Defendant
                                                     Date

     ZACHARY JOSEPH HORWITZ
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      1                             CERTIFICATION OF DEFENDANT
      2         I have read this agreement in its entirety.          I have had enough
      3   time to review and consider this agreement, and I have carefully and
      4   thoroughly discussed every part of it with my attorney.             I understand
      5   the terms of this agreement, and I voluntarily agree to those terms.
      6   I have discussed the evidence with my attorney, and my attorney has
      7   advised me of my rights, of possible pretrial motions that might be
      8   filed, of possible defenses that might be asserted either prior to or
      9   at trial, of the sentencing factors set forth in 18 U.S.C. § 3553(a),
     10   of relevant Sentencing Guidelines provisions, and of the consequences
     11   of entering into this agreement.          No promises, inducements, or
     12   representations of any kind have been made to me other than those
     13   contained in this agreement.       No one has threatened or forced me in
     14   any way to enter into this agreement.          I am satisfied with the
     15   representation of my attorney in this matter, and I am pleading
     16   guilty because I am guilty of the charge and wish to take advantage
     17   of the promises set forth in this agreement, and not for any other

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 1                     CERTIFICATION OF DEFENDANT'S ATTORNEY

 2        I am one of ZACHARY JOSEPH HORWITZ's attorneys.            I have

 3   carefully and thoroughly discussed every part of this agreement with

 4   my client.   Further,   I have fully advised my client of his rights, of

 5   possible pretrial motions that might be filed,           of possible defenses

 6   that might be asserted either prior to or at trial, of the sentencing

 7   factors set forth in 18 U.S.C. § 3553(a), of relevant Sentencing

 8   Guidelines provisions, and of the consequences of entering into this

 9   agreement.   To my knowledge: no promises, inducements, or

10   representations of any kind have been made to my client other than

11   those contained in this agreement; no one has threatened or forced my

12   client in any way to enter into this agreement; my client's decision

13   to enter into this agreement is informed and voluntary; and the

14   factual basis set forth in this agreement is sufficient to support my

15   client's entry of a guilty plea pursuant to this agreement.



     ~                                                  9 - ( - 2-oZ(
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17                                                     Date
     RYANS. HEDGES
18   Attorneys for Defendant
     ZACHARY JOSEPH HORWITZ
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